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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                 Filed: September 05, 2023




Ms. Mary Joyce Carlson
Mr. Arthur T. Carter
Ms. Jenevieve Louise Frank
Mr. Alfred John Harper III
Mr. Erik C. Hult
Mr. David P. Lichtman
Mr. Richard J. Lussier
Mr. Kyle Andrew Mohr
Ms. Angelique Paul Newcomb
Mr. Neil B. Pioch
Mr. Daniel M. Rosenthal
Ms. Charlotte Schwartz

                     Re: Case No. 23-1187, Elizabeth Kerwin v. Starbucks Corporation
                         Originating Case No. 2:22-cv-12761

Dear Counsel,

   Briefing in this case will be held in abeyance temporarily pending a ruling on the motion to
remand. When this outstanding matter has been resolved, the clerk's office will issue a new
briefing schedule or give the parties other instructions.

                                                 Sincerely yours,

                                                 s/Virginia Lee Padgett
                                                 Case Manager
                                                 Direct Dial No. 513-564-7032
